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.«i FOR THE NORTHERN DISTRICT OF TEXAS
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AA Ne

  

“Theresa A. Spans

Plaintiff

 

B8-19CV-1738M

Civil Action No.

 

Ki (Sto Ind epend ert School
Defendant “TD Syrict (FSD)

 

COMPLAINT
L wad GiSaiminated AGainst because of muy Age and medical
Condivion while Working for Frisco TIO. TL just Completed 23
ears AS a teacher I + aught Lor fo Years for Chicago
Public Schools. 1 worked for fr sto FSO (lo gears at Corbet \
Elementary) and Sustained a “job related ankle INsUry udshich
brought me to the EEOC Aue tO my disability net Pe
. i ; ; sf os . TAQ oO Q
Acknowledaed and demed the right to Work. + |
OUrgery. = transferred +o different FISD Stheol, Mm Her Clementon

. ; a oe horasse
L worked tree for two years Where TL Was beltied, haetascd,
And AiScriminated A3ainsk While Continuing qt wore under
“he Conditions, I developed issues Lwtth my blood pressure.

* Attach additional pages as needed.

 

 

 

 

Date \l-IwiAG 49

Signature S! 20 ( 2po—
PrintName _ Thevesa_N. Spann
Address 1939 Daimler Drive
City, State, Zip +7; SCO, Tx 75033
Telephone A14-548- F137

 
 

 

Case 4:19-cv-00603-SDJ-CAN Document 3 Filed 07/19/19 Page 2 of 4 PagelID#: 6

*Additional Page(s)

The. School USC Lecsa Jobasan. Montorec yu
pressure, She advised” “ho +teave One Particular day because
he Pc essure. Was oo high. Me ad rein strartor § forced
me to meet with them for “465 Minutes ‘in Spite of
Ake blood Pressure . The ad ministrators iwpsked
V Ela hod -p cuin Mu fe putorieon wth untrue.
Stalements. Memos, and. ACCuSctons. When 1 T requested
Out of ny Contract, The Qdministrator avoided
the pew ern ployer. T Contacte) The Sv Pecintendcat
On yoas Later F€leased from mou Contract lodh
FISD. Tam Currentiy Ena plouedt wilh Lithe Elm
—Cheo\ Wistact. T Ao aot have Q@nvu 1SSues_ with
\plood Pressure. T have a Pos hive Tracker ASC Siren
ewe,

JV had tare. an Linpaid l Cave of absence Clue to
icod Dressure May SUIS. TF was told t wold Use the
Syck Bone Benebt which would poy for the l€ave, but

Cenied pse of the benebit. Several Incidents of harra SSment
Onda Cetaliation OCCured). TT taformed MA SUDECVIS OS
Numan LeSoucceS, and The Superintendent of +he SChool
AiStict about Icing bullied, Chi Seciminated Against, and
retaliated Ogainsh. Cegianed From the Aste, ck And

Amok a \rashi c Pay and benefit cor io July/August 2018
Lan pee jpsice 40 Avoid this happening to

Onuyone else
 

 

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings of other required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in ort is tequired-for thewse of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) ] j Ae LA EAL
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(b) County of Residence of First Listed Plaintiff D ent OM County of Residgnce of First Listed Defendant : 0 \ i.)
” (EXCEPT IN U.S. PLAINTIFF CASES) CLERK ANI. & PLAINTIFF CASES ONLY)
NOTE: nL LABEL INA rion Cases, USE THE LOCATION OF
TI CT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
S-19CV-1738M
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
® 1 U.S. Government (1 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State x 1 A 1 Incorporated or Principal Place 94 O04
of Business In This State
M2 US. Government 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os 5
Defendant (Indicate Citizenship of Parties in ltem IID) of Business In Another State
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IV. NATURE OF SUIT (lace an “x” in One Box Only} Click here for: Nature o
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(1 140 Negotiable Instrument Liability ( 367 Health Care/ ( 400 State Reapportionment
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& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 1 430 Banks and Banking
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O 152 Recovery of Defaulted Liability © 368 Asbestos Personal © 835 Patent - Abbreviated ( 460 Deportation

Student Loans CO 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and

(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
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of Veteran’s Benefits [1 350 Motor Vehicle © 370 Other Fraud [1 710 Fair Labor Standards 861 HIA (1395ff) 1) 490 Cable/Sat TV
J 160 Stockholders’ Suits 1 355 Motor Vehicle 0) 371 Truth in Lending Act O 862 Black Lung (923) 1 850 Securities/Commodities/
190 Other Contract Product Liability [ 380 Other Personal © 720 Labor/Management 1 863 DIWC/DIWW (405(g)) Exchange
J 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI ( 890 Other Statutory Actions
0 196 Franchise Injury OG 385 Property Damage 1 740 Railway Labor Act 0 865 RSI (405(g)) 1 891 Agricultural Acts

0 362 Personal Injury - Product Liability (1) 751 Family and Medical ( 893 Environmental Matters
Medic: i Leave Act O 895 Freedom of Information
1 790 Other Labor Litigation Act

     

  
 
    

 

 

 

 

 

210 Land Condemnation [7 440 Other Civil Rights Habeas Corpus: ( 791 Employee Retirement (J 870 Taxes (U.S. Plaintiff 1 896 Arbitration
1 220 Foreclosure C) 441 Voting {J 463 Alien Detainee Income Security Act or Defendant) (J 899 Administrative Procedure
O 230 Rent Lease & Ejectment te 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
3 240 Torts to Land 443 Housing/ Sentence 26 USC 7609 Agency Decision
0) 245 Tort Product Liability Accommodations 1 530 General ( 950 Constitutionality of
(J 290 All Other Real Property Ma. 445 Amer. w/Disabilities - | 535 Death Penalty : State Statutes
Employment Other: (0 462 Naturalization Application
OJ 446 Amer. w/Disabilities - | 540 Mandamus & Other |() 465 Other Immigration
Other 1 550 Civil Rights Actions
O 448 Education 0 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
yi 1 Original 2 Removed from O 3  Remanded from 0 4 Reinstated or © 5 Transferred from © 6 Multidistrict 1 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity).

Brief description of cause: Dd Ge e, ai sobi \i i Gn a ret Q | ( ok on

 

VI. CAUSE OF ACTION

 

 

 

 

 

 

VII. REQUESTED IN CO) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. JURY DEMAND: O Yes (No
VIIL RELATED CASE(S)
IF ANY (See instructions)’ GB DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
 

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INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(b)

3)

I.

Til.

IV.

VI.

Vil.

Vill.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,

use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at

the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,

noting in this section "(see attachment)".

Jurisdiction, The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an
"X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box I or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
this section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
code that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an '"X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. Ifa related case exists, whether pending or closed,

insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the
same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.
